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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

UNITED STATES OF AMERICA
SUPERSEDING
VS. INDICTMENT

DAVID LEE SCHIMMEL, CASE NO.: 3:07¢er58/MCR
a/k/a Jimmy,

LOUIS HILAIRE GAGNON,
a/k/a Old Man,

ANTHONY ALEXANDER BRIDGEWATER

and

WILLIAM JOSHUA LYNCH

THE GRAND JURY CHARGES:
COUNT ONE
That from on or about January 1, 2005, through the date of the return of this
Indictment, in the Northern District of Florida and elsewhere, the defendants,

DAVID LEE SCHIMMEL,
a/k/a Jimmy,
LOUIS HILAIRE GAGNON,
a/k/a Old Man,
ANTHONY ALEXANDER BRIDGEWATER
and
WILLIAM JOSHUA LYNCH,

did knowingly and willfully combine, conspire, confederate and agree together and with
other persons, to distribute and possess with intent to distribute controlled substances, in
violation of Title 21, United States Code, Section 841(a)(1), and that this offense

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Returned in open court pursuant to Rute 6(f)

Date : .

Tp United States Magistrate Judge

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involved five (5) kilograms or more of a mixture and substance containing cocaine and
one thousand (1,000) kilograms or more of a mixture and substance containing
marijuana, in violation of Title 21, United States Code, Sections 841(b)(1)(A)(ii) and
(b)(1 (A)(vii).
All in violation of Title 21, United States Code, Section 846.
COUNT TWO
That on or about April 2, 2007, in the Northern District of Florida, the defendants,
DAVID LEE SCHIMMEL,
a/k/a Jimmy,
LOUIS HILAIRE GAGNON,
a/k/a Old Man,
ANTHONY ALEXANDER BRIDGEWATER
and
WILLIAM JOSHUA LYNCH,
did knowingly and intentionally possess with intent to distribute a controlled substance,
and that this offense involved five (5) kilograms or more of a mixture and substance
containing cocaine, in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A)(i1), and Title 18, United States Code, Section 2.
COUNT THREE
That on or about April 2, 2007, in the Northern District of Florida, the defendants,
DAVID LEE SCHIMMEL,
a/k/a Jimmy,
LOUIS HILAIRE GAGNON,
a/k/a Old Man,
ANTHONY ALEXANDER BRIDGEWATER

and
WILLIAM JOSHUA LYNCH,

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did knowingly and intentionally possess with intent to distribute a controlled substance,
and that this offense involved one hundred (100) kilograms or more of a mixture and
substance containing marijuana, in violation of Title 21, United States Code, Sections
841(a)(1) and 841(b)(1)(B)(vii), and Title 18, United States Code, Section 2.
COUNT FOUR
That on or about April 5, 2007, in the Northern District of Florida, the defendant,
ANTHONY ALEXANDER BRIDGEWATER,
having previously been convicted of a crime punishable by a term of imprisonment
exceeding one year, did knowingly possess a firearm in and affecting interstate and
foreign commerce, that is:

1. On or about April 13, 1993, ANTHONY ALEXANDER
BRIDGEWATER was convicted in the State of Florida of the offenses of Sale of a
Controlled Substance and Possession of a Controlled Substance (Case No. 93-00035-
CFA).

2. For each of the above described crimes, ANTHONY ALEXANDER
BRIDGEWATER was subject to punishment by a term of imprisonment exceeding one
year.

3. Thereafter, ANTHONY ALEXANDER BRIDGEWATER did
knowingly possess a firearm, that is, an IMI Desert Eagle .44 caliber revolver.

4. This firearm had previously been transported in interstate and foreign

commerce.
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All in violation of Title 18, United States Code, Section 922(g)(1).
CONTROLLED SUBSTANCE FORFEITURE

The allegations contained in Counts One, Two and Three of this Indictment are
hereby re-alleged and incorporated by reference for the purpose of alleging forfeitures
pursuant to the provisions of Title 21, United States Code, Section 853.

From their engagement in the violations alleged in Counts One, Two and Three of
this Indictment, punishable by imprisonment for more than one year, which counts are re-
alleged and incorporated as if more fully set forth herein, the defendants,

DAVID LEE SCHIMMEL,
a/k/a Jimmy,
LOUIS HILAIRE GAGNON,
a/k/a Old Man,
ANTHONY ALEXANDER BRIDGEWATER
and

WILLIAM JOSHUA LYNCH,
shall forfeit to the United States, pursuant to Title 21, United States Code, Sections
853(a)(1) and (2), all of their interest in:

A. Property constituting or derived from any proceeds the defendants
obtained directly or indirectly as the result of such violations; and

B. Property used in any manner or part to commit or to facilitate the
commission of such violations.

If any of the property subject to forfeiture as a result of any act or omission of the

defendants:
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A. cannot be located upon the exercise of due diligence;

B. has been transferred or sold to, or deposited with, a third person;

C. has been placed beyond the jurisdiction of this Court;

D. has been substantially diminished in value; or

E. has been commingled with other property which cannot be divided without
difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section
853(p), to seek forfeiture of any other property of said defendants up to the value of the
above forfeitable property.

All in violation of Title 21, United States Code, Section 853.

FIREARM FORFEITURE

The allegations contained in Count Four of this Indictment are hereby realleged

and incorporated by reference. Because the defendant,
ANTHONY ALEXANDER BRIDGEWATER,

did knowingly commit the violation set forth in Count Four, any and all interest which

this defendant has in the firearm involved in this violation is vested in the United States
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and hereby forfeited to the United States pursuant to Title 18, United States Code,

Section 3665.

A TRUE BILL:

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SO DATE

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Ap _ A \
GREGORY RK. NIL \

United States

EDWIN KNIGHT

Assistant United States Attorney

